  8:12-cr-00301-JFB-TDT             Doc # 26   Filed: 10/16/12   Page 1 of 1 - Page ID # 43




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                        )
                                                 )                8:12CR301
                       Plaintiff,                )
                                                 )
       vs.                                       )                  ORDER
                                                 )
GERMAN GOMEZ-SALAS,                              )
                                                 )
                       Defendant.                )



       This matter is before the court on the motion for an extension of time by defendant

German Gomez-Salas (Gomez-Salas) (Filing No. 25). Gomez-Salas seeks an additional

time in which to file pretrial motions in accordance with the progression order. Upon

consideration, the motion will be granted.



       IT IS ORDERED:

       Defendant Gomez-Salas's motion for an extension of time (Filing No. 25) is granted.

Gomez-Salas is given until on or before November 19, 2012, in which to file pretrial

motions pursuant to the progression order. The ends of justice have been served by

granting such motion and outweigh the interests of the public and the defendant in a speedy

trial. The additional time arising as a result of the granting of the motion, i.e., the time

between October 16, 2012, and November 19, 2012, shall be deemed excludable time in

any computation of time under the requirement of the Speedy Trial Act for the reason

defendant's counsel requires additional time to adequately prepare the case, taking into

consideration due diligence of counsel, and the novelty and complexity of this case. The

failure to grant additional time might result in a miscarriage of justice.      18 U.S.C. §

3161(h)(7)(A) & (B).

       DATED this 16th day of October, 2012.

                                                     BY THE COURT:

                                                     s/ Thomas D. Thalken
                                                     United States Magistrate Judge
